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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
KOKOUVI ATCHADE,                                                                   10/21/2021
               Plaintiff,                                20-CV-6182 (JGK) (BCM)
        -against-
                                                         ORDER REGARDING GENERAL
740 ROAST CORP., et al.,                                 PRETRIAL MANAGEMENT AND
               Defendants.                               SCHEDULING DISCOVERY
                                                         CONFERENCE

BARBARA MOSES, United States Magistrate Judge.

        This action has been referred to Magistrate Judge Barbara Moses for general pretrial

management, including scheduling, discovery, non-dispositive pretrial motions, and settlement,

pursuant to 28 U.S.C. § 636(b)(1)(A). All pretrial motions and applications, including those

related to scheduling and discovery (but excluding motions to dismiss or for judgment on the

pleadings, for injunctive relief, for summary judgment, or for class certification under Fed. R.

Civ. P. 23) must be made to Judge Moses and in compliance with this Court's Individual

Practices in Civil Cases, available on the Court's website at https://nysd.uscourts.gov/hon-

barbara-moses.

         It appearing to the Court that the parties have an unresolved discovery dispute, the Court

will conduct an in-person discovery conference on November 3, 2021, at 11:00 a.m., in

Courtroom 20A of the Daniel Patrick Moynihan United States Courthouse, regarding the issues

raised in plaintiff's letter-motion. (Dkt. No. 46.) Defendants shall file any opposition to the letter-

motion no later than October 22, 2021. Plaintiff shall file any reply no later than October 26,

2021.

        Parties and counsel are cautioned:

        1.     Once a discovery schedule has been issued, all discovery must be initiated in time

to be concluded by the close of discovery set by the Court.
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       2.      Discovery     applications,   including    letter-motions   requesting    discovery

conferences, must be made promptly after the need for such an application arises and must

comply with Local Civil Rule 37.2 and § 2(b) of Judge Moses's Individual Practices. It is the

Court's practice to decide discovery disputes at the Rule 37.2 conference, based on the parties'

letters, unless a party requests or the Court requires more formal briefing. Absent extraordinary

circumstances, discovery applications made later than 30 days prior to the close of discovery

may be denied as untimely.

       3.      For motions other than discovery motions, pre-motion conferences are not

required, but may be requested where counsel believe that an informal conference with the Court

may obviate the need for a motion or narrow the issues.

       4.      Requests to adjourn a court conference or other court proceeding (including a

telephonic court conference) or to extend a deadline must be made in writing and in compliance

with § 2(a) of Judge Moses's Individual Practices. Telephone requests for adjournments or

extensions will not be entertained.

       5.      In accordance with § 1(d) of Judge Moses's Individual Practices, letters and letter-

motions are limited to four pages, exclusive of attachments.

       6.      If you are aware of any party or attorney who should receive notice in this action,

other than those currently listed on the docket sheet, please notify Courtroom Deputy Kevin

Snell at (212) 805-0228 immediately.

       7.      Counsel for the plaintiff must serve a copy of this Order on any defendant

previously served with the summons and complaint, must serve this Order along with the

summons and complaint on all defendants served hereafter, and must file proof of such service

with the Court.




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PLEASE BE AWARE THAT, FOR THE DURATION OF THE COVID-19 NATIONAL
EMERGENCY, UNLESS OTHERWISE ORDERED BY THE COURT:

Conferences and Hearings. Court conferences and hearings may be conducted by
teleconference, videoconference, or in person. Teleconferences are held on the Court’s
AT&T line. If a teleconference is scheduled, the parties are directed to call (888) 557-8511
and enter the access code 7746387# a few minutes before the scheduled time.
Videoconferences are held using the Court's videoconferencing technology (Microsoft
Teams) or (with the prior approval of the Court) such alternative videoconferencing
technology as the parties agree upon and arrange. If the Court's technology is used, the
Court will provide the link and further instructions in an email to counsel closer to the date
of the conference. Please treat teleconferences and videoconferences as you would treat a
public court appearance. If a conference or hearing in another matter is ongoing, please be
silent (mute your line) until your case is called. In person conferences are held in
Courtroom 20A of the Daniel Patrick Moynihan United States Courthouse, 500 Pearl
Street, New York, New York.

Remote Depositions. Pursuant to Fed. R. Civ. P. 30(b)(3) and (b)(4), all depositions in this
action may be taken via telephone, videoconference, or other remote means, and may be
recorded by any reliable audio or audiovisual means. This Order does not dispense with
the requirements set forth in Fed. R. Civ. P. 30(b)(5), including the requirement that,
unless the parties stipulate otherwise, the deposition be "conducted before an officer
appointed or designated under Rule 28," and that the deponent be placed under oath by
that officer. For avoidance of doubt, a deposition will be deemed to have been conducted
"before" an officer so long as that officer attends the deposition via the same remote means
(e.g., telephone conference call or video conference) used to connect all other remote
participants, and so long as all participants (including the officer) can clearly hear and be
heard by all other participants.



Dated: New York, New York                  SO ORDERED.
       October 21, 2021

                                           ________________________________
                                           BARBARA MOSES
                                           United States Magistrate Judge




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